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                                UNITED STATES BANKRUPTCY COURT

                              SOUTHERN DISTRICT OF OHIO (DAYTON)

   INRE:                                             *                       CASE NO. 19-30822

   T AGNETICS INC.                                   *                       CHAPTER 7

   INVOLUNTARY DEBTOR                                *                                                ~
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               REPLY TO TAGNETICS OPPOSITION TO MOTION FOR CONTE~                                      ~'    .,..~
                     FROM: Jonathan Hager, Kenneth Kayser, and Ronald Earley           .,._;o;S-;_\    S
                                                                                        ·~t{{(~. ;
   We have read Tagnetics' Opposition to Motion for Contempt filed on Friday Decem~t:( .•. , -:S,
   2019. Tagnetics counsel states they disagree with the Court's Order Granting in Part""Ta~rlics' ~
   Motion to Enforce Settlement Agreement [Doc. No. 101] of October 25, 2019 on the groutias that
   the settlement agreement did not include certain terms they thought had been agreed upon. They
   state they are not making the required payments out of concern that their Appeal may be
   successful at some later date even though they are not appealing the monetary terms of the
   settlement.
   In the Evidentiary Hearing Tagnetics' testified that there was a meeting of the minds represented
   by the agreement to the settlement terms (Key Terms) included in the July 26 th email from
   Steven Stem to the pro se parties. The Court ruled in favor of Tagnetics for the forced settlement
   based on the testimony ofTagnetics' counsel stating that no other terms are to be inferred or
   added to the Key Terms. Tagnetics' in their Opposition to Motion for Contempt [Doc. No. 153]
   is now contradicting their testimony trying to add releases to other parties that were not listed in
   the settlement email. Full Mutual Release was one of the Key Terms but was not clearly defined
   in any correspondence between the parties during email negotiations between July 23 and July
   26. This ambiguity led to the Evidentiary Hearing where the Court determined that Full Mutual
   Release required both parties listed in the July 26 email, three remaining petitioning creditors
   and the company Tagnetics, to give up all future claims against each other. The Court's decision
   benefitted Tagnetics by relieving their obligations to repay a loan to Mr. Earley and deferred
   salary to Mr. Kayser. Any decision to include anyone other than the company Tagnetics in the
   definition of Full Mutual Release is not justified and would provide additional unbalanced
   benefit to Tagnetics.
  Tagnetics' has not presented any legal argument for not executing the Court Order following the
  denial of their requested Stay [Doc. No. 125]. Tagnetics' is ignoring their obligation to follow
  the Court's ruling. The remaining petitioning creditors filed papers for Tagnetics' Involuntary
  Bankruptcy because Tagnetics was not paying its debts. The ensuing 8-month process has
  provided substantial monetary relief to Tagnetics and has yet to provide any relief to the
  remaining petitioning creditors. The prose parties respectfully request the Court find Tagnetics'
  in Contempt and require immediate payment of the first payment to the prose parties including
  interest in light of the continued delays.
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   Respectfully submitted December 18, 2019,
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                                         CERTIFICATE OF SERVICE
   I hereby certify that on December 18, 2019, a copy of the foregoing Reply to Tagnetics Opposition to
   Motion for Contempt was (i) submitted to the Clerk of the Court at the Courthouse and (ii) electronically
   by email to counsel for Tagnetics, Inc., and (iii) by ordinary US Mail on December 16, 2019 to the Office
   of the United States Trustee.




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